                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


    DAVID ALLEN TRAPP,                :
                                      :
              Plaintiff,              :
                                      :     Case No. 1:18-cv-00099-CCE-JLW
    v.                                :
                                      :
    LEXISNEXIS RISK SOLUTIONS INC.,   :
                                      :
              Defendant.              :
                                      :
           _____________________________________________________

                      DEFENDANT’S MOTION TO SEAL
            _____________________________________________________

        Defendant, LexisNexis Risk Solutions FL Inc. (“LNRS FL”)1, by counsel, and

pursuant to Local Rule 5.4, hereby moves this Court to seal certain portions of Michael

Woodberry’s deposition transcript attached to its Motion for Protective Order. The reasons

in support of this motion are set forth in the accompanying brief, which is incorporated

herein by reference.




1
 Plaintiff names LexisNexis Risk Solutions Inc. as the defendant in his Complaint. The
proper defendant is LexisNexis Risk Solutions FL Inc.




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Dated: September 11, 2018         LEXISNEXIS RISK SOLUTIONS FL INC.

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                                 CERTIFICATE OF SERVICE

           I hereby certify that on September 11, 2018, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system and that notices would be delivered

electronically to counsel for the parties.

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